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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                       Case No. 1:20−cr−183

   v.                                     Hon. Robert J. Jonker

TY GERARD GARBIN,

         Defendant.
                                      /



                          NOTICE OF HEARING


TAKE NOTICE that a hearing has been rescheduled as set forth below:

Type of hearing(s):   Sentencing
                      August 25, 2021 04:00 PM
Date/Time:            (previously set for 7/8/21)
Chief Judge:          Robert J. Jonker
Place/Location:       699 Federal Building, Grand Rapids, MI




                                      ROBERT J. JONKER
                                      Chief United States District Judge

Dated: June 28, 2021            By:    /s/ Susan Driscoll Bourque
                                      Case Manager
